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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division


 UNITED STATES OF AMERICA


                          v.

                                                            Case No. 1:18-cr-83 (TSE)
 PAUL J. MANAFORT, JR.,

                                    Defendant.


                           GOVERNMENT’S MOTION TO SEAL
                       PURSUANT TO LOCAL CRIMINAL RULE 49(E)

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

hereby submits this motion to seal its motions for use immunity for the trial testimony of five

potential witnesses, pursuant to Local Criminal Rule 49(E). A proposed order, a non-confidential

supporting memorandum, and the documents to be filed under seal accompany this motion.


                                                   Respectfully submitted,

                                                   ROBERT S. MUELLER, III
                                                   Special Counsel

Dated: July 17, 2018                               /s/ Andrew Weissmann
                                                   Andrew Weissmann
Uzo Asonye                                         Greg D. Andres
Assistant United States Attorney                   Brandon L. Van Grack
Eastern District of Virginia                       Special Assistant United States Attorneys
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                                 CERTIFICATE OF SERVICE


       I hereby certify that on the 17th day of July, 2018, I will cause to be filed electronically the

foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification

of such filing (NEF) to the following:

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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


 UNITED STATES OF AMERICA


                           v.

                                                                 Case No. 1:18-cr-83 (TSE)
 PAUL J. MANAFORT, JR.,

                                       Defendant


                                              ORDER

       This matter comes before the Court on the Motion of the United States to seal its motions

for use immunity for the trial testimony of five potential witnesses pursuant to Local Criminal Rule

49(E). For good cause shown, the Court finds:

       1.      The United States seeks an order pursuant to Local Criminal Rule 49(E) sealing its

motions for use immunity for the trial testimony of five potential witnesses.

       2.      Sealing of these documents is necessary because the motions would reveal the

identities of uncharged third parties involved in the investigation and the trial, thereby creating the

risk of undue harassment. Sealing is also appropriate because the information contained in the

motions could lead to reputational harm. See, e.g., United States v. Smith, 776 F.2d 1104, 1115 (3d

Cir.1985) (finding that the trial court properly sealed a Bill of Particulars to protect the identities

of third party individuals and “the reputational and privacy interests” of those third parties); United

States v. Gerena, 869 F.2d 82, 85 (2d Cir. 1989) (finding the need to consider the privacy interests

of innocent third parties that may be harmed by disclosure); United States v. Bracy, 67 F.3d 1421,
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1426–27 (9th Cir. 1995) (finding that the need to protect the safety of potential witnesses justified

sealing of indictment).

        3.      The United States and the Court have considered procedures other than sealing, but

none would suffice to protect the information subject to sealing.

        4.      This Court has the inherent authority to order that documents be filed under seal.

“The trial court has supervisory power over its own records and may, in its discretion, seal

documents if the public’s right of access is outweighed by competing interests.” In re Knight Pub.

Co., 743 F.2d 231, 235 (4th Cir. 1984).

        5.      The United States seeks to have its motions for use immunity for the trial testimony

of five potential witnesses sealed unless and until the named individuals testify in the upcoming

trial, or until further order of the Court.



        It is therefore ORDERED that the United States’ Motion to Seal is GRANTED; it is further

        ORDERED that the motions for use immunity for the trial testimony of five potential

witnesses will remain under seal unless and until the named individuals testify in the upcoming

trial, or until further Order of this Court.




________________                               __________________________________
Date                                           The Honorable T. S. Ellis, III
                                               UNITED STATES DISTRICT JUDGE
